 8:05-cr-00257-LSC-TDT            Doc # 18   Filed: 07/11/05   Page 1 of 1 - Page ID # 25




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:05CR257
                                                  )
       vs.                                        )             ORDER
                                                  )
AMANDA NIELSON,                                   )
                                                  )
                     Defendant.                   )



       This matter is before the court on motion of J. William Gallup to withdraw as counsel
for defendant Amanda Nielson (Filing No. 17). The motion is granted, and Mr. Gallup has
leave to withdraw.
       IT IS SO ORDERED.
       DATED this 11th day of July, 2005.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
